Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 1 of 11




              EXHIBIT 11
       Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 2 of 11




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


DENIS      MARC     AUDET,    MICHAEL Case 3:16-cv-00940
PFEIFFER, and DEAN ALLEN SHINNERS,
Individually and on Behalf of All Others Hon. Michael P. Shea
Similarly Situated,                      Courtroom 2

                                 Plaintiffs,           ECF Case

        vs.                                            CLASS ACTION

STUART A. FRASER, GAW MINERS, LLC, May 3, 2019
and ZENMINER, LLC, (d/b/a ZEN CLOUD),
                                      DECLARATION OF COLIN M.
                         Defendants.  WATTERSON RE: PLAINTIFFS’
                                      SUPPLEMENTAL BRIEF RE: CLASS
                                      MEMBER IDENTIFICATION AND
                                      DAMAGES


        I, Colin M. Watterson, declare under penalty of perjury as follows:

        1.         My name is Colin M. Watterson. I am an attorney licensed to practice law in the

State of Texas and am an associate with the law firm Susman Godfrey L.L.P. I have personal

knowledge of the facts in this declaration.

        2.         I serve as counsel for plaintiffs in the above captioned action. I am admitted pro

hac vice in the above captioned action. I am making this declaration in support of plaintiffs’

Supplemental Brief re: Class Member Identification and Damages.

        3.         Exhibit 1 to this declaration are true and correct excerpts from the transcript of

the hearing on plaintiffs’ motion for class certification.

        4.         Exhibit 4 to this declaration are true and correct examples of email receipts from

gawminers.com that were provided by class members to plaintiff Allen Shinners. Exhibit 4

consists of one page from Alex Lukashevich, nine pages from Arthur James, two pages from

Christopher Alan Crane, two pages from Daniel Olavi Mondesire, five pages from Jack Gentry



                                                   1
6556837v1/014928
       Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 3 of 11




Saunders, one page from Kellen Jalbert, eight pages from Martin Horton Alexander, nine pages

from Michael Viklund, three pages from Paul Heath, four pages from Paul William Lindgren, ten

pages from Robert Hoppenfeld, eight pages from Slaven Sabolovic, and six pages from Tezontl

Rosario.

        5.         Exhibit 5 to this declaration are true and correct excerpts of credit card data from

Braintree and Stripe. The full dataset contains over 40,000 transactions; however, Exhibit 5 is

simply the first page from each data set for illustrative purposes. The data was produced in this

litigation as attachments to emails sent on February 26, 2015 and April 7, 2015. The filename of

the data is “Sales Transactions via Internet Payment Processors.” The data was produced without

bates numbers by former GAW representative and attorney David McLain.

        6.         Exhibit 6 to this declaration is a true and correct copy of a comparison of

excerpts from the Braintree and Stripe credit card data and a credit card statement submitted by

Christian Bills, a GAW investor. I filtered the data to show only records relevant to the 20

randomly selected class members and to exclude irrelevant data fields. I then attached Mr. Bills’

credit card statement. Then, for the convenience of the Court, I have made marks in the margin

of these documents indicating how the Braintree records tie to the credit card statement.

        7.         Exhibit 7 to this declaration are true and correct examples of credit card and other

financial statements that were provided by class members to plaintiff Allen Shinners. Exhibit 5

consists of three pages from Christian Bills, five pages from Christopher Alan Crane, four pages

from Daniel Mondesire, four pages from Kellen Jalbert, two pages from Paul Heath, two pages

from Paul William Lindgren, one page from Slaven Sabolovic, and three pages from Tezontl

Rosario.




                                                    2
6556837v1/014928
         Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 4 of 11




         8.        Exhibit 8 to this declaration are true and correct copies of documents relating to

class members’ bitcoin addresses and transfer confirmations provided to plaintiff Allen Shinners.

Exhibit 7 consists of one page from Alfonso Hernandez, one page from Belinda Jane Elizabeth

Burrows, one page from Christopher Alan Crane, one page from Jonas Per Lars Berqvist, four

pages from Jack Gentry Saunders, one page from Michael Viklund, one page from Paul Heath,

and one page from Slaven Sabolovic.

         9.        Exhibit 9 to this declaration is a true and correct bitcoin blockchain report from

the                                                                                          website:

https://www.blockchain.com/btc/address/1LnT29STn5U866g5JsB1PN978r8pxeC2qT.                        The

report         shows       the     transaction      history     for      the     bitcoin      address

1LnT29STn5U866g5JsB1PN978r8pxeC2qT, which is the address associated with putative class

member Belinda Burrows. The website report has not been altered or modified. The report shows

that the total amount of bitcoin transferred to that address is 1.11321429. It also includes the

detail for three transactions involving this address, one on November 6, 2014 in the amount of

1.08341161 bitcoin, and two on November 28, 2014, one for .02708485 bitcoin and one for

.00271783 bitcoin.

         10.       Exhibit 10 to this declaration is a true and correct copy of a declaration filed in

SEC v. Garza, No. 3:15-cv-1760 (D. Conn.).

         11.       In connection with preparation of Plaintiffs’ Supplemental Brief re: Class

Member Identification and Damages, I compared documents submitted by the 20 randomly

selected class members and the ZenCloud and Paybase databases. I did so in two ways.

         12.       First, I reviewed the email receipts and credit card statements submitted by the 20

class members. I compared those documents to purchases reflected in the “Orders” table of




                                                    3
6556837v1/014928
        Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 5 of 11




ZenCloud. 1 Each transaction in the Orders table contains an associated email address and

associated name. I used that information to determine which transactions were associated with

the 20 randomly selected class members. Through the review process, I confirmed that the

purchases reflected in ZenCloud largely tie to the receipts and credit card statements submitted

by the class members.

         13.       By way of example, below are the date and dollar amount of purchases made by

class member Christian Bills as reflected by a credit card statement (GAW00361992) and wire

statement (GAW00361993) he submitted to Mr. Shinners:

                                              Date            Amount
                                           8/31/14           $329.25
                                           9/2/14            $329.25
                                           9/2/14            $548.75
                                           9/4/14            $523.75
                                           9/4/14            $1,047.50
                                           9/9/14            $523.75
                                           9/9/14            $1,047.50
                                           9/18/14           $1,047.50
                                           9/18/14           $523.75
                                           9/18/14           $14.25
                                           9/30/14           $1,248.75
                                           10/6/14           $249.75
                                           10/12/14          $1,248.75
                                           10/14/14          $499.50

         14.       Mr. Bills’ relevant purchases as reflected in the “Orders” table of ZenCloud are as

follows:




1
 I obtained data specific to the 20 class members based on their email addresses and userIDs from plaintiffs’ expert,
Robert Mills.



                                                         4
6556837v1/014928
       Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 6 of 11




The entries in the excerpts above tie to the credit card and wire statement as follows:

                                  Date        Amount            Line
                               8/31/14       $329.25        3
                               9/2/14        $329.25        4
                               9/2/14        $548.75        8
                               9/4/14        $523.75        5




                                                 5
6556837v1/014928
       Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 7 of 11




                                  9/4/14       $1,047.50     6
                                  9/9/14       $523.75       9
                                  9/9/14       $1,047.50     7
                                  9/18/14      $1,047.50     10
                                  9/18/14      $523.75       11
                                  9/18/14      $14.25        12
                                  9/30/14      $1,248.75     13
                                  10/6/14      $249.75       14
                                  10/12/14     $1,248.75     15
                                  10/14/14     $499.50       16

        15.        Second, I performed a similar comparison with respect to transactions where the

class members used cryptocurrency to purchase securities from GAW. Both the ZenCloud and

Paybase databases contain a bitcoin wallet address for each user. In both databases, the bitcoin

wallet address is found in the “btcAddress” column in the “Users” table. The “Users” table also

contains a unique email address for each user. Thus, each “btcAddress” entry can be associated

with an email address.

        16.        The “Users” table of both databases also contains a unique “id” for each user. As

with the bitcoin wallet address, each “id” entry can be associated with a given email address. I

determined the id (or in some cases, ids) for each the 20 class members based on their email

addresses.

        17.        I then reviewed the transactions reflecting bitcoin invested into GAW by the 20

class members. It is my understanding that both ZenCloud and Paybase denote such transactions

as “fund” type transactions. In ZenCloud, I reviewed “fund” transactions in the “Transactions”

table. In Paybase, I reviewed “fund” transactions in the “Bitcoins” table. Each such transaction is

linked with a given id, so it is possible to determine which “fund” transactions are associated

with the 20 class members.

        18.        I then compared the “fund” transactions from the “Transactions” table in

ZenCloud with transactions from a user’s bitcoin wallet as reflected by the blockchain via the



                                                   6
6556837v1/014928
       Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 8 of 11




website blockchain.info. Again, the transactions reflected on the blockchain largely tie to the

“fund” transactions in the “Transactions” table. The same is true of the “fund” transactions in the

“Bitcoins” table of Paybase.

        19.        By way of example, below is a description of how I reviewed the transactions of

class member Jonas Per Lars Berqvist. I identified the transactions related to Mr. Berqvist’s

ZenCloud bitcoin wallet as follows. First, I used his email address (jonasb@delta.se) to identify

his bitcoin wallet in the ZenCloud “Users” table. The wallet address associated with Mr.

Berqvist’s email address is 1BvtbUv6rEJP6mMWZK6cD8VeAF7rcxxrs3. I further verified Mr.

Berqvist’s wallet address because he provided a document to Mr. Shinners identifying his bitcoin

address (GAW00362987). Below is a screenshot from the document:




        20.        I then used a blockchain explorer website to identify transactions to and from Mr.

Berqvist’s         bitcoin     wallet.     The       transactions     can      be     viewed       at

https://www.blockchain.com/btc/address/1BvtbUv6rEJP6mMWZK6cD8VeAF7rcxxrs3. Below

is a summary of the outgoing transactions reflected by the blockchain explorer website:

                                      Date       Amount
                                      10/5/14    1.2 BTC
                                      10/31/14   .21 BTC
                                      10/31/14   .5 BTC
                                      11/3/14    .2783 BTC
                                      11/4/14    .71 BTC
                                      11/5/14    .17553612 BTC
                                      11/7/14    .248 BTC
                                      11/7/14    .52657498 BTC
                                      11/10/14   2.37 BTC
                                      11/26/14   1.74886312 BTC



                                                   7
6556837v1/014928
        Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 9 of 11




                                       11/27/14    1.73786923 BTC
                                       12/8/14     .1 BTC
                                       2/19/15     .28586493 BTC

        21.        I then compared the transactions as reflected by the blockchain to the “fund” type

transactions in the “Transactions” table of ZenCloud. The “id” associated with Mr. Berqvist’s

email address is “13422.” Because each transaction in the “Transactions” table has an associated

“userId,” it is possible to identify the “fund” transactions associated with userId 13422 and

bitcoin wallet address 1BvtbUv6rEJP6mMWZK6cD8VeAF7rcxxrs3. Below is a screenshot of

those transactions:




These transactions tie to outgoing transactions reflected on the blockchain as follows:

                                Date          Amount              Line(s)
                                10/5/14       1.2 BTC             4224-25
                                10/31/14      .21 BTC             4408
                                10/31/14      .5 BTC              4459
                                11/3/14       .2783 BTC           4517-18
                                11/4/14       .71 BTC             4679
                                11/5/14       .17553612 BTC       4718
                                11/7/14       .248 BTC            4723
                                11/7/14       .52657498 BTC       4888
                                11/10/14      2.37 BTC            4896
                                11/26/14      1.74886312 BTC      4994
                                11/27/14      1.73786923 BTC      4996
                                12/8/14       .1 BTC              5146
                                2/19/15       .28586493 BTC       5149

        22.        I analyzed Mr. Berqvist’s Paybase transactions in a similar way. First, I used his

email    address      to   determine    his    bitcoin   wallet   in   the   Paybase   “Users”   table

(1HKe3goCkvGA3dseTnYRLgnyc5zCuUXt28). Then, I used the same blockchain explorer



                                                     8
6556837v1/014928
      Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 10 of 11




website            to      review        his        transactions        on     the        blockchain:

https://www.blockchain.com/btc/address/1HKe3goCkvGA3dseTnYRLgnyc5zCuUXt28. Below

is a summary of the transactions:

                                      Date        Amount
                                      12/31/14    .39413446 BTC
                                      1/20/15     .01386943 BTC
                                      1/20/15     1.40517687 BTC
                                      1/22/15     .5 BTC
                                      1/28/15     .519 BTC

        23.        I then compared the transactions as reflected by the blockchain to the “fund” type

transactions in the “Bitcoins” table of Paybase. The “id” associated with Mr. Berqvist’s email

address is “3137.” Because each transaction in the “Bitcoins” table has an associated “userId,” it

is possible to identify the “fund” transactions associated with userId 3137 and bitcoin wallet

address 1HKe3goCkvGA3dseTnYRLgnyc5zCuUXt28. Below is a screenshot of those

transactions:




These transactions tie to outgoing transactions reflected on the blockchain as follows:

                                 Date          Amount              Line(s)
                                 12/31/14      .39413446 BTC       2
                                 1/20/15       .01386943 BTC       3
                                 1/20/15       1.40517687          4
                                 1/22/15       .5 BTC              5
                                 1/28/15       .519 BTC            6

        24.        I compared the Braintree credit card data to documents submitted by the 20

randomly selected class members. Specifically, I compared the nine transactions that appear on

the credit card statement submitted by member Christian Bills to the Braintree data and




                                                    9
6556837v1/014928
      Case 3:16-cv-00940-MPS Document 140-1 Filed 05/03/19 Page 11 of 11




confirmed that all nine transactions on the credit card statement appear on the Braintree data. A

summary of that comparison is attached as Exhibit 6.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

above statements are true and correct to the best of my knowledge, information, and belief.

Dated: May 3, 2019
At Houston, Texas
                                                   /s/ Colin M. Watterson
                                                   Colin M. Watterson




                                                10
6556837v1/014928
